21-10699-dsj        Doc 185       Filed 10/04/21 Entered 10/04/21 18:52:47          Main Document
                                               Pg 1 of 17


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
                    In the Matter                              :   Chapter 7
                                                               :   Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
KOSSOFF PLLC,                                                  :
                                                               :
                                                               :
                                            Debtor.            :
                                                               :
-------------------------------------------------------------- X

                       CHAPTER 7 INTERIM TRUSTEE’S MOTION
                    FOR AN ORDER COMPELLING JULIA MCNALLY
                   TO COMPLY WITH BANKRUPTCY RULE 2004 ORDER
21-10699-dsj             Doc 185           Filed 10/04/21 Entered 10/04/21 18:52:47                                    Main Document
                                                        Pg 2 of 17



                                                    TABLE OF CONTENTS

PRELIMINARY STATEMENT ................................................................................................... 2

JURISDICTION ............................................................................................................................. 3

FACTUAL BACKGROUND ....................................................................................................... 3

           I.      The Debtor’s Bankruptcy Case .............................................................................. 3

           II.     The Trustee’s Rule 2004 Motions and Related Orders ....................................... 4

           III. The Trustee’s Attempts to Obtain Discovery from the Debtor’s Sole
                Managing Member .................................................................................................. 5

           IV. The Trustee’s Subpoena .......................................................................................... 7

RELIEF REQUESTED ................................................................................................................... 9

BASIS FOR RELIEF .................................................................................................................... 10

NOTICE ........................................................................................................................................ 12

CONCLUSION............................................................................................................................ 12




                                                                        i
21-10699-dsj             Doc 185           Filed 10/04/21 Entered 10/04/21 18:52:47                                    Main Document
                                                        Pg 3 of 17



                                                 TABLE OF AUTHORITIES

CASES

Fatsis v. Braunstein (In re Fatsis),
  405 B.R. 1 (B.A.P. 1st Cir. 2009) ............................................................................................. 10

Goya Foods, Inc. v. Wallack Mgmt. Co.,
  344 F.3d 16 (1st Cir. 2003) ...................................................................................................... 10

In re Butler Innovative Solutions, Inc.,
  No. 08-00065, 2008 WL 5076980 (Bankr. D. Dist. Col. Sept. 29, 2008) ....................... 10, 11

In re Consolidated Meridian Funds,
  No. 10-17952, 2013 WL 1501636 (Bankr. W.D. Wash. Apr. 5, 2013) ................................ 11

In re Corso,
  328 B.R. 375 (Bankr. E.D.N.Y. 2005) ..................................................................................... 11

In re Dickerson,
  No. 08-33071, 2009 WL 4666457 (Bankr. N.D.N.Y. Dec. 8 2009) ...................................... 10

In re Nosek,
  544 F.3d 34 (1st Cir. 2008) ...................................................................................................... 10

In re Parikh,
  397 B.R. 518 (Bankr. E.D.N.Y. 2008) ..................................................................................... 11

In re River Ctr. Holdings, LLC,
  394 B.R. 704 (Bankr. S.D.N.Y. 2008) ........................................................................................ 9

In re Thompson,
  No. 06-32622, 2007 WL 2406886 (Bankr. N.D.N.Y. Aug. 21, 2007) .................................. 10

NWL Holdings, Inc. v. Eden Ctr., Inc. (In re Ames Dept. Stores, Inc.),
 317 B.R. 260 (Bankr. S.D.N.Y. 2004) ........................................................................................ 9

U.S. Lines, Inc. v. GAC Marine Fuels, Ltd. (In re McLean Indus.),
  68 B.R. 690 (Bankr. S.D.N.Y. 1986) ........................................................................................ 10

STATUTES

11 U.S.C. § 105(a) .......................................................................................................................... 1

28 U.S.C. § 157 ............................................................................................................................... 3

28 U.S.C. § 157(b)(2)(A) ................................................................................................................ 3

28 U.S.C. § 157(b)(2)(E) ................................................................................................................ 3



                                                                       ii
21-10699-dsj             Doc 185          Filed 10/04/21 Entered 10/04/21 18:52:47                                    Main Document
                                                       Pg 4 of 17



28 U.S.C. § 157(b)(2)(O) ................................................................................................................ 3

28 U.S.C. § 1334 ............................................................................................................................. 3

28 U.S.C. § 1408 ............................................................................................................................. 3

28 U.S.C. § 1409 ............................................................................................................................. 3

28 U.S.C. § 1746 ................................................................................................................... 1, 9, 12

RULES

Fed R. Bankr. P. 2004 ......................................................................................................... passim

Fed. R. Bankr. P. 45 ..................................................................................................................... 10

Fed. R. Bankr. P. 9016 ......................................................................................................... 1, 3, 10

Fed. R. Civ. P. 45(g) .................................................................................................................... 10




                                                                      iii
21-10699-dsj    Doc 185     Filed 10/04/21 Entered 10/04/21 18:52:47       Main Document
                                         Pg 5 of 17



TO THE HONORABLE DAVID S. JONES,
UNITED STATES BANKRUPTCY JUDGE:

               Albert Togut, not individually, but solely in his capacity as the Chapter 7

Interim Trustee (the “Trustee”) of Kossoff PLLC (the “Debtor”) in the above-captioned

case, by and through his attorneys, Togut, Segal & Segal LLP (the “Togut Firm”),

respectfully submits this application (the “Motion”) for entry of an order, substantially

in the form attached hereto as Exhibit “A” (the “Proposed Order”), pursuant to section

105(a) of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2004 and

9016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”):

(i) compelling Julia McNally (“McNally”) to comply with this Court’s Order Authorizing

Trustee to Issue Subpoenas and Obtain Testimony and for Injunctive Relief [Docket No. 27]

(the “Rule 2004 Order”) by (a) producing to the Trustee all documents responsive to the

Subpoena (as defined below) which have not yet produced by McNally, (b) producing

to the Trustee request-by-request responses to the Subpoena as required by the Rule

2004 Order, (c) preparing a declaration pursuant to 28 U.S.C. § 1746 as required by the

Rule 2004 Order, and (d) appearing upon ten (10) days prior written notice by the

Trustee to testify under oath pursuant to Bankruptcy Rule 2004; and (ii) in the event

that McNally fails to fully comply with the Proposed Order, authorizing the Trustee to

submit a proposed order to show cause scheduling a hearing to consider entry of a

further order holding McNally in civil contempt and imposing coercive civil sanctions.

In support of the Motion, the Trustee submits the Declaration of Neil Berger of the

Togut Firm, attached hereto as Exhibit “B” (the “Declaration”), and respectfully

represents:
21-10699-dsj    Doc 185     Filed 10/04/21 Entered 10/04/21 18:52:47       Main Document
                                         Pg 6 of 17



                             PRELIMINARY STATEMENT

               Since his appointment, the Trustee has undertaken the critically important

work of trying to resolve the affairs of the Debtor’s estate. This effort has been impeded

by the improper demands of Mitchell H. Kossoff (“Kossoff”) for a grant of immunity in

exchange for his cooperation. As a result, third-party document production is essential

to the Trustee’s investigation of the Debtor’s affairs and the identification of property

that may be administered.

               Material recovered by the Trustee identifies McNally as having been the

Debtor’s bookkeeper from at least as early as 2004 until the commencement of the

above-captioned case (the “Chapter 7 Case”). Moreover, documents that have been

recovered by the Trustee indicate that McNally had the authority to release funds held

in the Debtor’s escrow accounts and to effect the electronic wiring of funds. As a result

of Kossoff’s wholesale refusal to cooperate with the Trustee’s investigation of the

Debtor’s affairs, the Trustee issued a subpoena (the “Subpoena”) to McNally to

determine the nature and extent of the transactions into which the Debtor entered and

whether any of them give rise to a claim in favor of the estate.

               However, notwithstanding service of the Subpoena to McNally pursuant

to the Rule 2004 Order and the Trustee’s subsequent written demand for compliance,

McNally has failed to fully comply with the Subpoena. Instead, through her criminal

counsel, McNally produced a copy of McNally’s hard drive (the “Hard Drive”) of

materials that had been made available to the government, but she has failed to provide

any of the passwords or other access credentials that would enable the Trustee to fully

access the files on the Hard Drive, and she has failed to take further steps to comply

with the Subpoena.




                                             2
21-10699-dsj        Doc 185   Filed 10/04/21 Entered 10/04/21 18:52:47        Main Document
                                           Pg 7 of 17



               For the reasons set forth herein, the Trustee respectfully requests entry of

an order, substantially in the form of the Proposed Order, compelling McNally to fully

comply with the Rule 2004 Order.

                                       JURISDICTION

               1.       This Court has jurisdiction over this case and this Motion pursuant

to 28 U.S.C. §§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S.C.

§§ 157(b)(2)(A), (E) and (O). Venue is proper in this district pursuant to 28 U.S.C. §§

1408 and 1409.

               2.       The predicates for this Motion are section 105(a) of the Bankruptcy

Code and Bankruptcy Rules 2004 and 9016.

                                 FACTUAL BACKGROUND

I.     The Debtor’s Bankruptcy Case

               3.       On April 13, 2021, certain creditors of the Debtor filed an

involuntary petition for relief under Chapter 7 of the Bankruptcy Code (the

“Involuntary Petition”) against the Debtor in the Chapter 7 Case [Docket No. 1].

               4.       The Debtor did not appear in response to the Involuntary Petition,

and on May 11, 2021, this Court entered the Order for Relief and Order to File Schedules

and Other Documents [Docket No. 14] (the “Order for Relief”).

               5.       The Order for Relief directs the Debtor to file “all schedules,

statements, lists and other documents that are required under the Federal and Local

Rules of Bankruptcy Procedure” (the “Schedules”) no later than May 25, 2021 [Docket

No. 14].

               6.       On May 12, 2021, Mr. Togut was appointed as the Chapter 7

Interim Trustee of the Debtor, accepted his appointment, and duly qualified.




                                                3
21-10699-dsj        Doc 185   Filed 10/04/21 Entered 10/04/21 18:52:47       Main Document
                                           Pg 8 of 17



               7.       The Debtor has not yet filed any of the Schedules, and Kossoff has

failed to do so or to otherwise cooperate with the Trustee notwithstanding entry of

orders requiring him to do so [Docket Nos. 93, 137]. See Decl. at ¶ 5.

II.    The Trustee’s Rule 2004 Motions and Related Orders

               8.       On May 24, 2021, the Trustee filed the Chapter 7 Interim Trustee’s Ex

Parte Application for an Order (I) Directing the Preservation of Documents and Recorded

Information and (II) Authorizing the Issuance of Subpoenas for the Production of Documents

and Depositions Testimony Pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure [Docket No. 26] (the “Rule 2004 Motion”).

               9.       On May 24, 2021, the Court entered the Rule 2004 Order, which

authorized, inter alia, the Trustee “to issue subpoenas for the production of all books,

records and documents . . . related to the Debtor or its property concerning or otherwise

evidencing the Debtor’s assets and financial affairs . . . .” [Docket No. 27].

               10.      On May 26, 2021, counsel for the Debtor, Kossoff, and Kossoff’s

affiliated entity Tenantracers, LLC filed an opposition to the Rule 2004 Motion,

asserting that “Mr. Kossoff intends to invoke his Fifth Amendment privilege against

self-incrimination and will refuse to answer questions that may tend to incriminate

him.” See Docket No. 30 at p. 2. He also asserted that “Mr. Kossoff alone would be the

only person to properly identify, collect, describe and submit documents to the

Bankruptcy Court or its Trustee. Id. at p. 3.

               11.      Pursuant to the Order Scheduling Final Hearing to Consider Injunctive

Relief [Docket No. 33], the Court held a final hearing to consider the injunctive relief

sought by the Trustee on June 10, 2021. Later that day, the Court entered the Final Order

Granting Injunctive Relief [Docket No. 62] and required all parties in possession of

records concerning the Debtor’s affairs to maintain, and not alter or destroy, those


                                                4
21-10699-dsj         Doc 185      Filed 10/04/21 Entered 10/04/21 18:52:47               Main Document
                                               Pg 9 of 17



records subject only to such custodians’ turnover obligations pursuant to a subpoena or

a further order of this Court.

III.       The Trustee’s Attempts to Obtain Discovery from the Debtor’s Sole
           Managing Member

                   12.     On May 28, 2021, the Trustee filed the Application for an Order (A)

Designating Mitchell H. Kossoff as the Responsible Officer of the Debtor and (B) Compelling

Him to (1) Produce Information Requested by the Chapter 7 Trustee; (2) Appear for

Examinations Under Oath at the Bankruptcy Code Section 341 Meeting of Creditors; and (3)

Otherwise Cooperate with the Chapter 7 Trustee [Docket No. 36].1

                   13.     On June 25, 2021, the Court entered the Order Designating Mitchell

H. Kossoff as the Responsible Officer of the Debtor [Docket No. 93], which provides that

“Kossoff is designated as the person responsible for performing the Debtor’s duties in

this case . . . .”

                   14.     On August 5, 2021, the Court entered the Order Compelling Mitchell

H. Kossoff to (1) Produce Information and Documents Required by the Chapter 7 Trustee;

(2) Appear for Examination at Section 341 Meetings of Creditors; and (3) Otherwise Cooperate

with the Chapter 7 Trustee [Docket No. 137] (the “Order to Compel”). Among other

things, the Order to Compel required Kossoff to produce the Debtor’s Schedules within

fourteen days or file a written report with the Court explaining the reason for such

failure. As of the date hereof, Kossoff has failed to comply with the Order to Compel.




1
       In addition to the motion filed by the Trustee, which focused on Kossoff’s turnover obligations, the
       Trustee served a subpoena on Kossoff. On June 3, 2021, the Trustee served a subpoena on Kossoff
       requiring the production by June 10, 2021, of documents, which included documents concerning the
       Debtor’s financial and accounting records and documents concerning transactions involving the
       Debtor or other companies with which Kossoff is affiliated. See Decl. at ¶ 4. Kossoff has not fully
       complied with the subpoena. See Decl. at ¶ 5.



                                                       5
21-10699-dsj    Doc 185    Filed 10/04/21 Entered 10/04/21 18:52:47          Main Document
                                       Pg 10 of 17



               15.   On August 18, 2021, Kossoff and the Debtor sought to commence

an appeal of the Order to Compel in the District Court for the Southern District of New

York (the “District Court”) [Docket No. 144]. The appeal has been denied on the merits

[District Court Docket No. 17].

               16.   That same day, Kossoff and the Debtor filed a Motion for Leave to

Appeal [Docket No. 145], seeking to appeal the Order to Compel. Kossoff also filed the

Notice of Filing of Report Pursuant to August 5th Order [Docket No. 146], which concerned

Kossoff’s failure to comply with the Order to Compel and requested that the appeal be

resolved before Kossoff is compelled to comply with the Order to Compel.

               17.   The following day, on August 19, 2021, Kossoff’s criminal counsel

filed the Debtor’s Motion for Limited Stay Pending Appeal of the August 5, 2021 Order

Holding the Fifth Amendment Privilege Against Self Incrimination Inapplicable to Debtor and

Compelling Mitchell Kossoff to Create Documents, to Appear at Examination at the Creditor

Committee Hearing, and to Produce Documents and Other Information [Docket No. 147],

seeking to stay the Order to Compel pending the appeal (the “Bankruptcy Court Stay

Motion”).

               18.   This Court conducted a hearing to consider the Bankruptcy Court

Stay Motion on September 14, 2021, and on September 23, 2021, the Court entered an

order denying the Bankruptcy Court Stay Motion [Docket No. 178], which became

effective on September 27, 2021 at 5:00 p.m.

               19.   The following day, on September 24, 2021, Kossoff’s criminal

counsel filed in the District Court a Notice of Motion for Limited Stay and an

accompanying attorney affirmation [District Court Docket No. 13], and a Memorandum

of Law in Support of Motion for Limited Stay Pending Leave to Appeal the Bankruptcy Court’s

August 5th Order Compelling Mitchell H. Kossoff to Testify at a Creditors’ Committee Meeting,


                                               6
21-10699-dsj        Doc 185      Filed 10/04/21 Entered 10/04/21 18:52:47                 Main Document
                                             Pg 11 of 17



Prepare Schedules and Produce Documents [District Court Docket No. 14]. Due to a

docketing error, the Notice of Motion and the accompanying affirmation were refiled

on September 29, 2021 (the “District Court Stay Motion”) [District Court Docket Nos. 15

and 16].2

                  20.     On September 30, 2021, the District Court entered an order denying

the District Court Stay Motion and the Motion for Leave to Appeal on the merits [District

Court Docket No. 17].

IV.       The Trustee’s Subpoena

                  21.     Because Kossoff has failed to fully cooperate with the Trustee to

date, third-party document production and subpoena compliance is essential to the

Trustee’s investigation of the Debtor’s affairs and the identification of property that

may be administered. See Decl. at ¶ 6 . To date, the Trustee has served dozens of

subpoenas to individuals and entities that are believed to have relevant information

concerning the Debtor. See Decl. at ¶ 7.

                  22.     On July 13, 2021, the Trustee served the Subpoena upon McNally

because documents that have been made available to the Trustee to date indicate that

she had authority to release funds held in the Debtor’s escrow accounts and to effect the

electronic wiring of funds. See Decl. Ex. 2, Decl. at ¶ 9. The Subpoena’s deadline for the

production of responsive documents was set for July 22, 2021 (as subsequently

extended by mutual agreement, the “Production Deadline”). See Decl. Ex. 1; see also

Decl. at ¶ 9.




2
      These documents were filed as the Notice of Motion for Limited Stay and the Affirmation of Walter Mack
      in Support of Motion for Limited Stay.




                                                       7
21-10699-dsj     Doc 185      Filed 10/04/21 Entered 10/04/21 18:52:47              Main Document
                                          Pg 12 of 17



               23.     McNally failed to fully comply with the Subpoena on or before the

Production Deadline. See Decl. at ¶ 11. On August 4, 2021, the Trustee sent a written

demand to McNally seeking the production of documents responsive to the Subpoena

within ten days of the date thereof. See Decl. at ¶ 12, Decl. Ex. 3. McNally failed to fully

comply in response to the Trustee’s written demand, citing an investigation of the

Debtor by the U.S. Attorney for the Eastern District of New York (the “EDNY USA”).

See Decl. at ¶ 13. The EDNY USA served a subpoena to McNally in connection with her

investigation. Id.

               24.     After the EDNY USA terminated her investigation, on or about

August 10, 2021, through criminal counsel, McNally produced the Hard Drive to the

Trustee but failed to take further steps to comply with the Subpoena. See Decl. at ¶ 14.

She has even failed to provide the Trustee with access credentials that would enable the

Trustee to access all of the files on the Hard Drive that she maintained as the Debtor’s

bookkeeper. Id.

               25.     Thus, to date, McNally has failed to comply with her obligations

pursuant to the Subpoena and this Court’s Rule 2004 Order other than surrendering the

Hard Drive. See Decl. at ¶ 15.

               26.     Specifically, McNally has failed to provide: (1) request-by-request

responses and (2) a declaration stating (a) that none of the responsive Books and

Records3 have been altered, modified, deleted, or otherwise destroyed; and (b) that

McNally has made a diligent search and effort to locate and produce the documents


3
    The Rule 2004 Order defines “Books and Records” as all books, records, and documents, including,
    without limitation, all emails, text messages, computers and/or laptop computers, hard drives,
    computer servers, all back-up files and materials and backup media wherever located and/or
    however maintained, and documents related to the Debtor or its property concerning or otherwise
    evidencing the Debtor’s assets and financial affairs.



                                                  8
21-10699-dsj     Doc 185      Filed 10/04/21 Entered 10/04/21 18:52:47             Main Document
                                          Pg 13 of 17



and information requested by the Subpoena and that the written response as to each

individual request contained in the Subpoena is true and complete to the best of

McNally’s knowledge and belief. See id.; see also Docket No. 27 (Rule 2004 Order) at 3.

As mentioned above, McNally has also refused to supply passwords and other

credentials that would enable the Trustee to access all of the files and data on the Hard

Drive. See Decl. at ¶ 14. Absent these materials and information, the Trustee is unable

to ascertain based on his review of the documents alone whether the Hard Drive

represents all responsive documents within McNally’s possession, custody, or control.4

See Decl. at ¶ 16.

                                      RELIEF REQUESTED

               27.     The Trustee seeks entry of the Proposed Order: (i) compelling the

McNally to comply with the Rule 2004 Order and the Subpoena by: (a) producing to

the Trustee all documents responsive to the Subpoena not yet produced, (b) producing

to the Trustee request-by-request responses to the Subpoena as required by the Rule

2004 Order, (c) preparing a declaration pursuant to 28 U.S.C. § 1746 as required by the

Rule 2004 Order and (d) appearing upon ten (10) days prior written notice by the

Trustee to testify under oath pursuant to Bankruptcy Rule 2004; and (ii) in the event

that McNally fails to fully comply with the Proposed Order, authorizing the Trustee to

submit a proposed order to show cause for a further order holding McNally in

contempt and imposing coercive civil sanctions until full compliance with the Subpoena

has been made.




4
    Full compliance with the Subpoena by McNally will not excuse Kossoff from his obligation to comply
    with the Order to Compel, which is still needed.



                                                  9
21-10699-dsj     Doc 185     Filed 10/04/21 Entered 10/04/21 18:52:47           Main Document
                                         Pg 14 of 17



                                     BASIS FOR RELIEF

               28.    This Court has the express authority to compel compliance with its

orders. In re River Ctr. Holdings, LLC, 394 B.R. 704, 711 (Bankr. S.D.N.Y. 2008) (“[S]ection

105(a) plainly may be used ‘to enforce and implement’ earlier orders.”); see also NWL

Holdings, Inc. v. Eden Ctr., Inc. (In re Ames Dept. Stores, Inc.), 317 B.R. 260, 273-74 (Bankr.

S.D.N.Y. 2004) (recognizing that “it is manifestly proper . . . to invoke section 105(a) ‘to

enforce or implement’” earlier orders); U.S. Lines, Inc. v. GAC Marine Fuels, Ltd. (In re

McLean Indus.), 68 B.R. 690, 695 (Bankr. S.D.N.Y. 1986) (“The duty of any court to hear

and resolve legal disputes carries with it the power to enforce the order.”).

               29.    Further, Bankruptcy Rule 2004 provides a separate and

independent basis for compelling compliance. Bankruptcy Rule 2004 states that the

production of documents “may be compelled as provided in Rule 9016.” Bankruptcy

Rule 9016 provides that Federal Rule 45 applies in cases under the Bankruptcy Code.

               30.    Both section 105(a) of the Bankruptcy Code and Federal Rule 45

also provide independent bases for a finding of contempt and sanctions.

               31.    Pursuant to section 105(a) of the Bankruptcy Code, the Court has

the authority to hold a party in contempt, which “inherently include[s] the ability to

sanction a party.” In re Dickerson, No. 08-33071, 2009 WL 4666457, at *9 (Bankr.

N.D.N.Y. Dec. 8 2009) (internal quotations omitted) (quoting Ameriquest Mortgage Co. v.

Nosek (In re Nosek), 544 F.3d 34, 43-44 (1st Cir. 2008)); see also Fatsis v. Braunstein (In re

Fatsis), 405 B.R. 1, 11 (B.A.P. 1st Cir. 2009) (upholding bankruptcy court’s imposition of




                                               10
21-10699-dsj      Doc 185       Filed 10/04/21 Entered 10/04/21 18:52:47                 Main Document
                                            Pg 15 of 17



sanctions); In re Thompson, No. 06-32622, 2007 WL 2406886, at *2 (Bankr. N.D.N.Y. Aug.

21, 2007).5

                32.      Alternatively, Rule 45(g) of the Federal Rules of Civil Procedure

provides that the “court . . . may hold in contempt a person who, having been served,

fails without adequate excuse to obey the subpoena or an order related to it.” When

finding contempt, courts determine whether “the subpoena was clear and

unambiguous, there is a clear and convincing proof of non-compliance, the recipient did

not attempt to comply with reasonable diligence, and that the recipient is given the

notice and opportunity to be heard.” In re Parikh, 397 B.R. 518, 527 (Bankr. E.D.N.Y.

2008) (holding subpoenaed party in contempt for failing to comply with subpoena

issued pursuant to Bankruptcy Rule 2004); see also In re Corso, 328 B.R. 375, 385 (Bankr.

E.D.N.Y. 2005) (same); In re Consol. Meridian Funds, No. 10-17952, 2013 WL 1501636, at

*13-14 (Bankr. W.D. Wash. Apr. 5, 2013) (same).

                33.      In this case, the Court approved the issuance of the Subpoena and

retained jurisdiction for all matters regarding the implementation of the Rule 2004

Order. In addition, the terms of the Subpoena are clear and unambiguous and McNally

has not, and cannot, advance any claim of ambiguity.

                34.      McNally has failed to fully comply with the Subpoena, and she has

not sought relief from the Subpoena. By failing to comply with the Subpoena, McNally




5
    “Sanctions stem, in part, from a need to regulate [the] conduct” of persons before the court. Fatsis,
    405 B.R. at 10 (quoting Goya Foods, Inc. v. Wallack Mgmt. Co., 344 F.3d 16, 19 (1st Cir. 2003)). “Thus,
    setting the amount of an effective sanction may include punitive concerns as well as considerations
    of deterrence.” Fatsis, 405 B.R. at 10-11. “When fashioning a civil contempt sanction . . . [the] court
    ‘has broad discretion to design a remedy that will bring about compliance.’” In re Butler Innovative
    Solutions, Inc., No. 08-00065, 2008 WL 5076980, at *1 (Bankr. D. Dist. Col. Sept. 29, 2008) (citation
    omitted).



                                                     11
21-10699-dsj    Doc 185    Filed 10/04/21 Entered 10/04/21 18:52:47        Main Document
                                       Pg 16 of 17



has knowingly defied the authority of this Court and its Rule 2004 Order, and she is

impeding the Trustee’s efforts to investigate the Debtor’s financial affairs.

               35.   In the event that McNally fails to fully comply with the Proposed

Order, the Trustee requests that the Court permit the Trustee to submit a proposed

order to show cause seeking a further order holding McNally in contempt and

imposing sanctions as “a remedial device intended to achieve full compliance with [the]

court’s order.” In re Butler, No. 08-00065, 2008 WL 5076980, at *1.

               36.   Based upon all of the foregoing, the Trustee respectfully requests

that the Court enter the Proposed Order compelling McNally to comply with the Rule

2004 Order and the Subpoena.

                                         NOTICE

               37.   Notice of this Motion has been given to: (i) McNally; (ii) the

United States Trustee; (iii) the Manhattan District Attorney’s Office; and (iv) all of the

parties that filed a notice of appearance pursuant to Rule 9010(b) in this case. The

Trustee respectfully requests that the Court find that such notice is sufficient and that

no other or further notice of the relief requested herein is necessary or appropriate.

                                     CONCLUSION

               WHEREFORE, for the reasons set forth herein, the Trustee respectfully

requests that the Court enter the Proposed Order: (i) compelling McNally to comply

with the Rule 2004 Order and the Subpoena by (a) producing to the Trustee all

documents responsive to the Subpoena not yet produced, (b) producing request-by-

request responses to the Subpoena as required by the Rule 2004 Order, (c) preparing a

declaration pursuant to 28 U.S.C. § 1746 as required by the Rule 2004 Order and (d)

appearing upon ten (10) days prior written notice by the Trustee to testify under oath

pursuant to Bankruptcy Rule 2004; and (ii) in the event that McNally fails to fully


                                             12
21-10699-dsj   Doc 185    Filed 10/04/21 Entered 10/04/21 18:52:47       Main Document
                                      Pg 17 of 17



comply with the Proposed Order, authorizing the Trustee to submit a proposed order to

show cause seeking a further order holding McNally in contempt of court and imposing

coercive sanctions, and provide such other and further relief as this Court deems just

and proper.

Dated: New York, New York
       October 4, 2021
                                         Respectfully submitted,

                                         ALBERT TOGUT, not individually but
                                         solely in his capacity as Chapter 7 Interim
                                         Trustee
                                         By His Attorneys,
                                         TOGUT, SEGAL & SEGAL LLP
                                         By:

                                         /s/ Neil Berger
                                         NEIL BERGER
                                         MINTA J. NESTER
                                         BRIAN F. SHAUGNESSY
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                                           13
